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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JUSTIN L. LEE
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   (916) 554-2700
 5

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 7

 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,              ) 2:15-MJ-0039-AC
                                            ) 2:15-MJ-0040-AC
12               Plaintiff,                 ) 2:15-MJ-0041-AC
                                            )
13         v.                               ) STIPULATION AND ORDER
                                            ) CONTINUING PRELIMINARY HEARING
14   BRYCE BEAVER,                          ) DATE
     CHARLES BEAVER, and                    )
15   SHAROD GIBBONS,                        )
                                            ) Judge: Hon. Edmund F. Brennan
16                                          )
                 Defendants.                )
17

18                                     STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendants, by and through their counsel of record, hereby

21   stipulate as follows:

22      1. By prior order, these matters were set for Preliminary Hearing

23         on June 12, 2015.

24      2. By this Stipulation, the parties now move to continue the

25         Preliminary Hearing until August 7, 2015, at 2:00 p.m.

26      3. Defendants Bryce Beaver and Charles Beaver made their initial

27         appearance on March 4, 2015.      Defendant Sharod Gibbons made his

28         initial appearance on March 13, 2015.


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 1      4. All three defendants are presently out of custody and being

 2         supervised by a Pretrial Services Officer.

 3      5. The United States has provided discovery to all three

 4         defendants.    This discovery consists of 30 CDs, including

 5         several hours of audio and video recordings.

 6      6. The parties have discussed a potential pre-indictment resolution

 7         of this matter.     The parties need further time to discuss this

 8         matter, discuss any potential consequences, and to allow counsel

 9         for the defendants reasonable time necessary for preparation and

10         further investigation.

11      7. The defendants understand that pursuant to 18 U.S.C. § 3161(b),

12         “any information or indictment charging an individual with the

13         commission of an offense shall be filed within thirty days from

14         the date on which such individual was arrested.”          Time may be

15         excluded under the Speedy Trial Act if the Court finds that the

16         ends of justice served by granting such a continuance outweigh

17         the best interests of the public and the defendant in a speedy

18         trial.   18 U.S.C. § 3161(h)(7)(A).      The parties jointly move to

19         exclude time within which any indictment or information shall be

20         filed from the date of this order, through and including August

21         7, 2015, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), because

22         failure to do so would “deny counsel for the defendant . . . the

23         reasonable time necessary for effective preparation, taking into

24         account the exercise of due diligence.”

25   ///

26   ///

27   ///

28   ///


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 1      8. Good cause exists under Rule 5.1(d) of the Federal Rules of

 2         Criminal Procedure.

 3   IT IS SO STIPULATED.

 4

 5   DATED: June 10, 2015                /s/ Justin L. Lee   _
                                       JUSTIN L. LEE
 6                                     Assistant U.S. Attorney
 7   DATED: June 10, 2015                /s/ Kelly Babineau     _
                                       KELLY BABINEAU
 8                                     Attorney for Bryce Beaver
                                       (as authorized on June 8, 2015)
 9

10   DATED: June 10, 2015                /s/ Robert Holley     _
                                       ROBERT HOLLEY
11                                     Attorney for Charles Beaver
                                       (as authorized on June 8, 2015)
12
     DATED: June 10, 2015                /s/ Jeffrey Fletcher     _
13                                     JEFFREY FLETCHER
                                       Attorney for Sharod Gibbons
14                                     (as authorized on June 8, 2015)
15

16                                         ORDER

17         IT IS SO FOUND AND ORDERED, this 10th day of June, 2015.

18

19
                                         _________________   ______
20                                     Hon. EDMUND F. BRENNAN
                                       United States Magistrate Judge
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     Stipulation to Continue P/H             3       United States v. Gibbons, et al.
